             Case 2:23-cv-01975-JHC           Document 52        Filed 01/26/24          Page 1 of 4




 1                                                                THE HONORABLE JOHN H. CHUN

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 6
                                 UNITED STATES DISTRICT COURT
 7                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 8
     ERIC LI, ANITA MEDAL, individually, and on
 9   behalf of all others similarly situated.,                No. 2:23-cv-01975-JHC

10                          Plaintiffs,                       STIPULATED MOTION AND
                                                              [PROPOSED] ORDER TO RE-
11          v.                                                NOTE AMAZON’S MOTION TO
12                                                            DISMISS AND PLAINTIFFS’
     AMAZON.COM SERVICES LLC,                                 MOTION TO STRIKE AND/OR
                   Defendant.
13                                                            FOR LEAVE TO FILE SURREPLY

14                                                            RE-NOTE ON MOTION
                                                              CALENDAR: FEBRUARY 23, 2024
15

16          Plaintiffs Eric Li and Anita Medal (“Plaintiffs”) and Defendant Amazon.com Services LLC
17   (“Amazon”) (collectively, “the Parties”) respectfully submit this stipulated motion and proposed
18   order to re-note Amazon’s motion to dismiss and Plaintiffs’ related motion to strike or leave to file
19   surreply (“Surreply Motion”), and to stay other discovery-related deadlines, including the deadline
20   to file the case management statement, pending the Court’s decision on the motion to dismiss.
21          The action was transferred on December 19, 2023 from the United States District Court for
22   the Northern District of California. Dkts. 43, 44, 45. In granting Amazon’s motion to transfer
23   venue, the Northern District of California did not substantively address Amazon’s motion to
24   dismiss or Plaintiffs’ related Surreply Motion, other than to deny both motions without prejudice
25   to re-filing in this Court. Dkt. 43. Please take notice that Amazon is re-noting its motion to dismiss
26   (Dkt. 18), and Plaintiffs are re-noting their Surreply Motion (Dkt. 32) in accordance with the

      STIPULATED MOTION AND                                                Perkins Coie LLP
                                                                      1201 Third Avenue, Suite 4900
      [PROPOSED] ORDER TO RE-NOTE                                       Seattle, Washington 98101
      AMAZON’S MOTION TO DISMISS AND                                      Phone: 206.359.8000
      PLAINTIFFS’ SURREPLY MOTION                                           Fax: 205.359.9000
              Case 2:23-cv-01975-JHC        Document 52        Filed 01/26/24          Page 2 of 4




 1   Deputy Clerk’s December 21, 2023 Letter (Dkt. 45) and Local Civil Rule 7(d)(3). The Parties

 2   respectfully request that the Court update the docket accordingly with the new noting date for both

 3   motions of February 23, 2024.

 4            Previously, the Parties had stipulated to, and the Northern District of California had

 5   ordered, a stay of discovery-related deadlines pending resolution of the pending motions. Dkts. 33,

 6   34. Specifically, the Court had ordered that the case management statement be due 14 days from

 7   when the Court decides the pending motions, and an initial case management conference would

 8   be held 21 days after the Court decides the pending motions. Dkt. 34. The Parties jointly request

 9   that this stay be continued pending resolution of the motions. A proposed order is attached.

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      STIPULATED MOTION AND                                               Perkins Coie LLP
                                                                     1201 Third Avenue, Suite 4900
      [PROPOSED] ORDER TO RE-NOTE                                      Seattle, Washington 98101
      AMAZON’S MOTION TO DISMISS AND                                     Phone: 206.359.8000
      PLAINTIFFS’ SURREPLY MOTION – 2                                      Fax: 205.359.9000
     163711572.1
              Case 2:23-cv-01975-JHC        Document 52      Filed 01/26/24          Page 3 of 4




 1

 2    Dated: January 26, 2024
                                                     ALLEN HANSEN MAYBROWN &
 3    PERKINS COIE LLP                               OFFENBECHER / JUST FOOD LAW
 4                                                   PLLC_ / KUZYK LAW, LLP

 5
      By: s/ Charles C. Sipos                        By: s/ Maia C. Kats
 6        Charles C. Sipos                               Maia C. Kats
          Julie L. Hussey                                Michael Braun
 7        Jasmine W. Wetherell                           Todd Maybrown
          Ellie F. Chapman
 8                                                   Attorneys from Plaintiffs
      Attorneys from Defendant
 9    Amazon.com Services LLC

10
                                         LCR 7(e) Certification
11
              I certify that this memorandum contains 282 words, in compliance with the Local Civil
12
     Rules.
13
                                                    s/ Charles C. Sipos
14
                                                    Charles C. Sipos
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     STIPULATED MOTION AND                                             Perkins Coie LLP
                                                                  1201 Third Avenue, Suite 4900
     [PROPOSED] ORDER TO RE-NOTE                                    Seattle, Washington 98101
     AMAZON’S MOTION TO DISMISS AND                                   Phone: 206.359.8000
     PLAINTIFFS’ SURREPLY MOTION – 1                                    Fax: 205.359.9000
            Case 2:23-cv-01975-JHC       Document 52      Filed 01/26/24       Page 4 of 4




 1                                    [PROPOSED] ORDER

 2          IT IS SO ORDERED.

 3          DATED this ____ day of January, 2024.

 4

 5
                                                    HONORABLE JOHN H. CHUN
 6                                                  UNITED STATES DISTRICT JUDGE

 7

 8   Presented by:

 9   PERKINS COIE LLP

10
     By: s/ Charles C. Sipos
11       Charles C. Sipos
         Julie L. Hussey
12       Jasmine W. Wetherell
         Ellie F. Chapman
13
     Attorneys from Defendant
14   Amazon.com Services LLC

15
     KUZYK LAW, LLP / JUST FOOD LAW / ALLEN HANSEN MAYBROWN &
16   OFFENBECHER
17
     By: /s/ Maia C. Kats
18       Maia C. Kats
         Michael Braun
19       Todd Maybrown
20   Attorneys from Plaintiffs
21

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24

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26
     [PROPOSED] ORDER – 1                                               Perkins Coie LLP
                                                                   1201 Third Avenue, Suite 4900
                                                                     Seattle, Washington 98101
                                                                       Phone: 206.359.8000
                                                                        Fax: 205.359.9000
